1    Law Offices of Travis A. Gagnier, Inc. P.S.                  Judge Mary Jo Heston
     33507 Ninth Avenue South, Bldg. F                            CHAPTER 13
2    P.O. Box 3949                                                Hearing Date: December 6, 2018
     Federal Way, WA 98063-3949                                   Hearing Time: 1:00 p.m.
3    253-941-0234; gagnierecf@bestbk.com                          Response Date: November 29, 2018

4
                             UNITED STATES BANKRUPTCY COURT
5                        WESTERN DISTRICT OF WASHINGTON AT TACOMA

6
      IN RE:
                                                       No. 18-43364
7
       GREINER, James Michael,
                                                       DEBTORS’ RESPONSE TO MOTION FOR
8                                                      RELIEF FROM STAY BY WILMINGTON
               Debtor.
                                                       SAVINGS and PROOF OF SERVICE
9

10
            COMES NOW, the Debtor, by and through his attorney, Travis A. Gagnier, and responds
11
     to the Motion for Relief from Stay by Wilmington Savings (hereafter “Creditor”).
12
            Debtor filed a plan which provides regular monthly payments to the Creditor. Debtor is
13
     making the plan payments through a wage order. Debtor has in good faith set up payments
14
     through tfs online payment service to ensure that payments are made each week until the wage
15   order takes place. Payments are being made. Debtor very much wants to save his home. The
16   Debtor requested until December 31, 2020, so that he would have time to increase his income in
17   order to qualify for a loan modification.
18          Creditor is no worse off under the proposed plan. It will receive monthly, contract

19   payments through December 31, 2020. It will also receive some money on the arrears. If the

20   debtor is not successful with a loan modification, Debtor will work to refinance and/or list the

21   property for sale. Worst case, Creditor gets monthly house payments up until if later forecloses

22   on the property. Debtor is buying the time he is requesting to save his home through December

23
     31, 2020. There is no basis to lift the stay due to the monthly payments. Debtor is not modifying

     the terms of the underlying mortgage through the plan.
24
            In order to assuage the concerns of Creditor, Debtor will agree to a “drop-dead” or
25
     strict compliance order through December 31, 2020, for his plan payment. For these reasons
26
                                                                               LAW OFFICES OF TRAVIS
27   DEBTORS’ RESPONSE TO MOTION                                                   GAGNIER, INC., P.S.
     FOR RELIEF FROM STAY and                                               33507 Ninth Avenue South, Bldg. F
28   PROOF OF SERVICE - 1                                                             P.O. Box 3949
                                                                              Federal Way, WA 98063-3949
                                                                          (253) 941-0234; gagnierecf@bestbk.com

     Case 18-43364-MJH        Doc 17     Filed 11/06/18     Ent. 11/06/18 07:38:00          Pg. 1 of 2
1
     the debtor asks that the motion for relief be denied and the debtor be allowed to continue
2
     with his plan.
3

4              Respectfully submitted this 31st day of October 2018.

5
                                                                  /s/ Travis A. Gagnier
6                                                                 Travis A. Gagnier, #26379
                                                                  Attorney for Debtor
7

8
                                                      PROOF OF SERVICE
9
               I declare under penalty of perjury under the laws of the State of Washington that I filed the original of the foregoing
10
     with the United States Bankruptcy Court in Tacoma and served a true copy thereof to:
11             Michael G. Malaier                       Wilmington Savings
               Chapter 13 Trustee                       c/o The Law Offices of Michelle Ghidotti
12
     via ECF, and to:
13
               Debtor
14
     via U.S. first-class mail, postage pre-paid, on the 6th day of November 2018.
15

16                                                                /s/ Jennifer Roberts
                                                                  Jennifer Roberts
17                                                                Sr. Paralegal


18

19

20

21

22

23

24

25

26
                                                                                                      LAW OFFICES OF TRAVIS
27   DEBTORS’ RESPONSE TO MOTION                                                                          GAGNIER, INC., P.S.
     FOR RELIEF FROM STAY and                                                                      33507 Ninth Avenue South, Bldg. F
28   PROOF OF SERVICE - 2                                                                                    P.O. Box 3949
                                                                                                     Federal Way, WA 98063-3949
                                                                                                 (253) 941-0234; gagnierecf@bestbk.com

     Case 18-43364-MJH                Doc 17         Filed 11/06/18           Ent. 11/06/18 07:38:00                Pg. 2 of 2
